    Case 1:24-cv-00180-JCG   Document 34-1   Filed 03/04/25   Page 1 of 20




        UNITED STATES COURT OF INTERNATIONAL TRADE

      Zhaoyuan Junbang Trading Co., Ltd.,
      Linyi Yuwang Vegetable Protein Co.,
      Ltd., Shandong Yuwang Ecological             Court No. 24-00180
      Food Industry Co., Ltd., and Fenchem
      Biotek Ltd,


                       Plaintiffs,
          v.

     United States.




              MEMORANDUM OF LAW IN SUPPORT OF
              THE RULE 56.2 MOTION OF PLAINTIFFS
            FOR JUDGMENT UPON THE AGENCY RECORD



                                       David J. Craven, Esq.
                                       CRAVEN TRADE LAW LLC
                                       3744 N Ashland Avenue
                                       Chicago, Illinois 60613
                                       Tel. 773-709-8506
                                       David.craven@tradelaw.com
                                          Counsel for Plaintiffs
Dated: March 4, 2025
        Case 1:24-cv-00180-JCG                   Document 34-1                Filed 03/04/25              Page 2 of 20




                                                  Table of Contents

   I.    INTRODUCTION ........................................................................................... 1
  II.    STATEMENT PURSUANT TO RULE 56.2(c) ............................................. 2
         A. Administrative Determination Under Review ...............................................................2
 III.    Issues of Law ................................................................................................... 2
 IV.     Summary Of Arguments .................................................................................. 3
  V.     Statement Of Facts........................................................................................... 4
 VI.     STANDARD OF REVIEW ............................................................................. 6
VII.     ARGUMENT ................................................................................................... 8
         A. Commerce’s Calculation of the AFA rate is contrary to law ..................... 8
         B. The Department Ignored Facts of Record in Calculating the
            EBC ............................................................................................................ 9
         C. The Department Did not Provide an Opportunity to Remedy
            Any Deficiency ........................................................................................................11
VIII.    CONCLUSION..............................................................................................15




                                                            1
      Case 1:24-cv-00180-JCG                    Document 34-1              Filed 03/04/25            Page 3 of 20




                                               Table of Authorities

Cases
Atlantic Sugar, Ltd. v. United States, 744 F.2d 1556 (Fed. Cir.
  1984) ......................................................................................................................7
Bowman Transp., Inc. v. Arkansas-Best Freight Sys., Inc., 419
  U.S. 281, 95 S. Ct. 438, 42 L. Ed. 2d 447 (1974) ..................................................8
Changzhou Wujin Fine Chem. Factory Co., Ltd. v. United States,
  701 F.3d 1367 (Fed. Cir. 2012) .............................................................................8
Consolidated Edison Corp. v. Labor Board, 305 U.S. 19 (1938). ...........................7
Dalian Meisen Woodworking Co. v. U.S., 719 F. Supp. 3d 1322
  (Ct. Int'l Trade 2024) .................................................................................9, 10, 11
Diversified Products Corp. v. United States, 6 CIT 155 (1983) ...............................7
Gerald Metals, Inc. v. United States, 132 F.3d 716 (Fed. Cir.
  1997) ......................................................................................................................7
Guizhou Tyre Co. v. United States, 43 CIT ___, 415 F. Supp. 3d
  1402, (2019) ......................................................................................................... 11
Loper Bright Enterprises v. Raimondo, 603 U.S. 369 (2024) ..................................7
Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d 1301 (Fed. Cir.
  2009) ......................................................................................................................8
Mukand, Ltd. v. United States, 7676 F.3d 1300 (Fed. Cir. 2014) .............................14
Nan Ya Plastics Corp. v. United States, 810 F.3d 1333 (Fed. Cir.
  2016) ......................................................................................................................9
Nippon Steel Corp. v. United States, 337 F.3d 1373 (Ct. App. Fed.
  Cir. 2003) .............................................................................................................12
Novosteel SA v. United States, 284 F. 3d 1261 (Fed. Cir. 2002) ...............................8
NSK Ltd. et al. v. United States 481 F.3d 1355(Fed. Cir. 2007) .............................14
Rhone Poulenc, Inc. v. United States, 899 F.2d 1185 (Fed. Cir.
  1990) ......................................................................................................................9
Risen Energy Co. v. United States, (Risen I) 46 CIT __, 570
  F.Supp. 3d 1369 (2022) ....................................................................................... 10
Risen Energy Co. v. United States (Risen III), 47 CIT __, 665
  F.Supp. 3d 1335 (2023) ....................................................................................... 10
      Case 1:24-cv-00180-JCG                    Document 34-1              Filed 03/04/25            Page 4 of 20




Saha Thai Steel Pipe Co., Ltd. v United States, 828 F. Supp. 57
  (Ct. Intl Trade 1993) ..............................................................................................9
Shakeproof Assembly Components Div. of Ill. Tool Works v.
  United States, 268 F.3d 1376 (Fed. Cir. 2001) .....................................................9
SKF USA, Inc. v. United States. 254 F.3d 1022 (Fed. Cir. 2001) .............................8
Tung Mung Dev. Co., v. United States, 354 F.3d 1371 (Fed. Cir.
  2004) ......................................................................................................................8
Universal Camera Corp. v. NLRB, 340 U.S. 474 (1951), ........................................7
USX Corp. v. United States, 11 CIT 82, 655 F. Supp. 487 (1987). ..........................7
Yangzhou Bestpak Gifts & Crafts Co. v. United States, 716 F.3d
  1370 (Fed. Cir. 2013). ............................................................................................9
Statutes
19 U.S.C. § 1516a(a)(2)(B)(iii).................................................................................. 2
19 U.S.C. §1516a(b) .................................................................................................. 6
19 U.S.C. §1766m(d) ........................................................................................3, 4,12


19 U.S.C. §1673d(c)(5) .............................................................................................. 6
      Case 1:24-cv-00180-JCG    Document 34-1      Filed 03/04/25   Page 5 of 20




          UNITED STATES COURT OF INTERNATIONAL TRADE

        Zhaoyuan Junbang Trading Co., Ltd.,
        Linyi Yuwang Vegetable Protein Co.,
        Ltd., Shandong Yuwang Ecological                 Court No. 24-00180
        Food Industry Co., Ltd., and Fenchem
        Biotek Ltd,


                          Plaintiffs,
            v.

       United States.



                MEMORANDUM OF LAW IN SUPPORT OF
                THE RULE 56.2 MOTION OF PLAINTIFFS
              FOR JUDGMENT UPON THE AGENCY RECORD

 I.    INTRODUCTION

This is an appeal from the Countervailing Duty Investigation of Pea Protein from
China. Plaintiff Zhaoyuan Junbang Trading Co., Ltd (“Junbang”) was a mandatory
respondent in the review, and Plaintiffs Linyi Yuwang Vegetable Protein Co., Ltd.,
Shandong Yuwang Ecological Food Industry Co., Ltd., and Fenchem Biotek Ltd,
non-mandatory respondents in the investigation.       Junbang was a party to the
proceeding, having filed numerous questionnaire responses and comments, as well
as a case brief. Plaintiffs Linyi Yuwang Vegetable Protein Co., Ltd., Shandong
Yuwang Ecological Food Industry Co., Ltd., and Fenchem Biotek Ltd were parties
to the proceeding having actively participated and having filed a case brief.
The Plaintiffs assert the following errors in the Commerce Department’s
(“Commerce” or “Department”) final determination:




                                        1
       Case 1:24-cv-00180-JCG       Document 34-1        Filed 03/04/25      Page 6 of 20




           • The Department erred when it applied total AFA for the Export Buyer’s
              Credit Program;
           • The Department failed to take into account all of the facts of record in
              making its determination; and
           • The Department failed to comply with 19 U.S.C. 1677m(d) when it did
              not provide plaintiff Junbang the opportunity to address the apparent
              deficiencies in the responses.
 II.    STATEMENT PURSUANT TO RULE 56.2(c)
        A. Administrative Determination Under Review

This action is brought pursuant to 19 U.S.C. § 1516a (a)(2)(B)(iii) to contest
Commerce’s final determination and countervailing duty order in Pea Protein from
the People’s Republic of China, published as Certain Pea Protein From the
People’s Republic of China: Antidumping and Countervailing Duty Orders at 89
Fed. Reg. 68,390 (PR 3901) and Issues and Decision Memorandum (“IDM”)
accompanying the Department’s Final Determination (PR 376). In the Final Results,
Commerce calculated a countervailing subsidy rate of 15.15% for Junbang and
applied a countervailing subsidy rate of 15.84% based on an average of the rate for
the two mandatory respondents for the other plaintiffs.
III.    Issues of Law

The Plaintiffs present the following issues. Commerce’s determination was not
based on substantial evidence on the record, and was arbitrary and capricious, an
abuse of discretion, and not otherwise in accordance with law. The issues are:
     Application of Total AFA to the Export Buyer’s Credit Program.



1
 This brief uses the following abbreviations: P.R. = Public Record; C.R. = confidential record;
AFA = adverse facts available; EBC = Export Buyer’s Credit



                                            2
      Case 1:24-cv-00180-JCG    Document 34-1     Filed 03/04/25    Page 7 of 20




   In calculating the amount of the subsidy provided by the Export Buyer’s Credit
Program (“EBC”), the Department calculated this amount based on total adverse
facts and did not take into account the information provided by plaintiff in its
responses. In the absence of a gap in the record, and based on the full cooperation
of the respondent, the application of AFA was inappropriate.
    The Department Ignored Facts of Record in Calculating the EBC.
       In calculating the amount of the subsidy provided by the EBC, the Department
ignored the affidavits and statements provided by plaintiff’s Customers which
established that they did not receive such credit. To the extent that the Department
properly applied facts available (as opposed to “adverse facts available”) to this
credit, the amount should have been adjusted to take into account the
customers/importers and the evidence that they provided that such entities did not
receive a credit.
    The Department Failed to Ask Additional Questions About the EBC.
       19 U.S.C. 1677m(d) clearly states that the Department must identify
deficiencies in responses and provide the parties an opportunity to remedy or explain
the deficiency. In the case of the EBC, the Department did not do so. The
Department cannot draw adverse inferences or otherwise penalize respondents
where, as here, the Department did not identify a deficiency and request that it be
addressed.



IV.    Summary Of Arguments

       The Department committed multiple errors. The first of these was a failure
to properly calculate the amount of the subsidy provided by the Export Buyer’s
Credit Program (“EBC”). The Department calculated this amount based on total
adverse facts and did not take into account the information provided by plaintiff in



                                       3
     Case 1:24-cv-00180-JCG      Document 34-1      Filed 03/04/25   Page 8 of 20




its responses. Such information included statements from the exporter and producer
of the non-use of the credit along with statements from the importer with respect to
the non-use of the credit. The Department verified the responses of the exporter and
producer and conducted verifications of all entities for which the Department sought
verification. The Department should not have applied adverse facts.
      Secondly, the Department ignored facts of record in calculating the amount of
the subsidy provided by the EBC. Even if the Department had decided that the use
of facts available was appropriate, it should not have calculated the margin using
adverse inferences.     Specifically, the Department ignored the affidavits and
statements provided by plaintiff’s Customers which established that they did not
receive such credit. To the extent that the Department properly applied facts
available (as opposed to “adverse facts available”) to this credit, the amount should
have been adjusted to take into account the customers/importers and the evidence
that they provided that such entities did not receive a credit.
      Finally, the the Department failed to ask additional questions about the EBC
program. To the extent that the Department determined that there were gaps in the
information, the Department should have asked plaintiffs to address such perceived
gaps and provided an opportunity to resolve such gaps. 19 U.S.C. 1677m(d) clearly
states that the Department must identify deficiencies in responses and provide the
parties an opportunity to remedy or explain the deficiency. Tthe Department did not
do so. The Department cannot draw adverse inferences or otherwise penalize
respondents where, as here, the Department did not identify a deficiency and request
that it be addressed.

V.    Statement Of Facts
The countervailing duty investigation on Pea Protein from the People’s Republic
of China was initiated on August 7, 2023 (Certain Pea Protein from the People’s


                                        4
    Case 1:24-cv-00180-JCG      Document 34-1     Filed 03/04/25   Page 9 of 20




Republic of China: Initiation of Countervailing Duty Investigation, 88 Fed. Reg.
52116 (August 7, 2023) (P.R. 43) as a result of the petition filed by the domestic
industry on July 12, 2023. (P.R. 1 at 1) In this investigation, Commerce issued its
preliminary results as Certain Pea Protein From the People’s Republic of China:
Preliminary   Affirmative   Countervailing    Duty    Determination,    Preliminary
Affirmative Critical Circumstances Determination, and Alignment of Final
Determination With Final Antidumping Duty Determination, 88 Fed. Reg. 87403
(December 18, 2023) P.R. 302, accompanied by Commerce’s December 11, 2023
memo entitled Decision Memorandum for the Preliminary Determination of the
Countervailing Duty Investigation on Certain Pea Protein from the People’s
Republic of China (date) (“PDM”), P.R. 303.
Plaintiffs made the following submissions containing information pertinent to this
appeal:
Initial Response to Section III of the Department’s Initial Questionnaire. (P.R. 160
at page 1 and C.R. 70 at page 1).
Exhibit 13 to Junbang’s response contained a full list of the overseas customers was
provided (C.R. 73 at 265). In Exhibit 14 a series of affidavits were provided from
certain customers who stated that they did not benefit from the EBC program. (C.R.
73 at 267 - 272) Exhibit 15 to the response of Shuangta Food was a list of customers
(C.R. 76 at 206). In Exhibit 16 an affidavit was provided by a customer who stated
that they did not benefit from the Export Buyer’s Credit. (C.R. 76 at 208).
Response of Junbang to Suppl. Questionnaire of November 27, 2023. In Exhibit
SQ-5, Junbang provided additional affidavits from its customers confirming non-
usage of this program. (C.R. 177 at 47-48)
Case Brief
      As confirmed in the case brief (C.R. 277 at 8-9) the Department did not ask
any questions about the EBC program beyond the original Section III questionnaire


                                       5
      Case 1:24-cv-00180-JCG   Document 34-1     Filed 03/04/25   Page 10 of 20




and did not address any questions to plaintiff with respect to this program in any
supplemental is program in any supplemental questionnaire issued to plaintiff. The
Department did ask multiple questions to the other mandatory respondent in multiple
supplemental questionnaires.
        In addition to the foregoing, the Department verified the responses of

Zhaoyuan Junbang Trading Co., Ltd. and its cross-owned company Yantai Shuangta

Food Co., Ltd.. (P.R. 274)

        Commerce issued its final results as Certain Pea Protein From the People’s
Republic of China: Final Affirmative Countervailing Duty Determination and Final
Affirmative Critical Circumstances Determination, 89 Fed. Reg. 55557 (July 5,
2024) (“Final. Results”)(P.R. 385) , accompanied by Commerce’s June 27, 2024
Decision Memorandum for the Final Affirmative Determination in the
Countervailing Duty Investigation of Certain Pea Protein from the People’s
Republic of China (“FDM”), (PR 376). On August 24, 2024 Commerce issued the
Countervailing duty order. It was published as Pea Protein from the People’s
Republic of China, Federal Register notice published as Certain Pea Protein From
the People’s Republic of China: Antidumping and Countervailing Duty Orders at 89
Fed. Reg. 68,390 (August 26, 2025)(P.R. 390).

VI.     STANDARD OF REVIEW


        The Court will hold unlawful Commerce determinations that are unsupported
by substantial evidence on the record or are not otherwise in accordance with law.
19 U.S.C. §1516a(b). To determine whether Commerce's interpretation and
application of 19 U.S.C. §1673d(c)(5) is "in accordance with law," the courts review




                                      6
    Case 1:24-cv-00180-JCG      Document 34-1      Filed 03/04/25    Page 11 of 20




the statute to determine whether Congress has directly spoken to the precise question
at issue.
       If the statute is silent or ambiguous with respect to the specific issue, the
Supreme Court has held that it is responsibility of the Federal Courts to determine
the meaning of the law. Loper Bright Enterprises v. Raimondo, 603 U.S. 369
(2024). Loper stated in relevant part “Chevron is overruled. Courts must exercise
their dependent judgment in deciding whether an agency has acted within its
statutory authority, as the APA requires.” Loper Bright 144 S.Ct. 2244 at 2273.
       Furthermore, once the statute has been properly interpreted by the Court, the
question is then whether the decision is supported by substantial evidence.
Substantial evidence is well defined by Court precedent. Substantial evidence is
“more than a mere scintilla. It means such relevant evidence as a reasonable mind
might accept as adequate to support a conclusion.” Universal Camera Corp. v.
NLRB, 340 U.S. 474, 477 (1951), quoting Consolidated Edison Corp. v. Labor
Board, 305 U.S. 197, 229 (1938). Furthermore, “substantial evidence” must be
measured by the record as a whole, “including whatever fairly detracts from the
substantiality of the evidence.” Atlantic Sugar, Ltd. v. United States, 744 F.2d 1556,
1562 (Fed. Cir. 1984) (quotations omitted). Thus, “it is appropriate to set aside the
ITA’s decision when the court ‘cannot conscientiously find that the evidence
supporting that decision is substantial, when viewed in the light that the record in its
entirety furnishes, including the body of evidence opposed to {that} view.’”
Diversified Products Corp. v. United States, 6 CIT 155, 161 (1983) quoting
Universal Camera, 340 U.S. at 488.
       Moreover, Commerce’s determination cannot be based on “isolated tidbits of
data which suggest a result contrary to the clear weight of the evidence.” USX Corp.
v. United States, 11 CIT 82, 84, 655 F. Supp. 487, 489 (1987). The substantial
evidence standard requires more than mere assertion of ‘evidence which in and of


                                        7
       Case 1:24-cv-00180-JCG    Document 34-1     Filed 03/04/25    Page 12 of 20




 itself justified {the determination}, without taking into account contradictory
 evidence or evidence from which conflicting inferences could be drawn.’” Gerald
 Metals, Inc. v. United States, 132 F.3d 716, 720 (Fed. Cir. 1997) (citation omitted).
 Moreover, when substantial evidence is not utilized, such action is tantamount to the
 use of speculation in making a determination. See Lucent Techs., Inc. v. Gateway,
 Inc., 580 F.3d 1301, 1327 (Fed. Cir. 2009) (“It is well established that speculation
 does not constitute ‘substantial evidence.’” (quoting Novosteel SA v. United States,
 284 F. 3d 1261, 1276 (Fed. Cir. 2002) (internal quotation marks omitted)).
         It is axiomatic that Commerce may not exert its authority in an arbitrary or
 capricious manner. See, e.g., Tung Mung Dev. Co., v. United States, 354 F.3d 1371,
 1378 (Fed. Cir. 2004). Commerce's decision will be set aside if it is arbitrary and
 capricious. See, e.g., SKF USA, Inc. v. United States. 254 F.3d 1022, 1028 (Fed. Cir.
 2001). "{A} reviewing court must apply both standards {substantial evidence, and
 arbitrary and capricious or contrary to law}, while "an agency's finding may be
 supported by substantial evidence," yet "nonetheless reflect arbitrary and capricious
 action." Changzhou Wujin Fine Chem. Factory Co., Ltd. v. United States, 701 F.3d
 1367, 1377 (Fed. Cir. 2012) (quoting Bowman Transp., Inc. v. Arkansas-Best
 Freight Sys., Inc., 419 U.S. 281, 284, 95 S. Ct. 438, 42 L. Ed. 2d 447 (1974).

VII.     ARGUMENT:

         A. Commerce’s Calculation of the AFA rate is contrary to law.

         In calculating the amount of the subsidy provided by the EBC, the Department
 calculated this amount based on total adverse facts and did not take into account the
 information provided by plaintiff in its various responses. In the absence of a gap in
 the record, and based on the full cooperation of the respondent, the application of
 AFA was inappropriate.



                                        8
   Case 1:24-cv-00180-JCG       Document 34-1      Filed 03/04/25    Page 13 of 20




      Critically, plaintiffs provided all of the information in its possession stating
that it did not receive any benefits and also provided documents from its customers
establishing that they did not benefit from such program. There is no evidence of
record that plaintiffs did not fully cooperate nor is there any evidence, let alone
allegation, that plaintiffs did not provide all of the information in their possession.
Simply put, there was substantial evidence of non-use provided by plaintiffs and
their customers, and there is no evidence of use, nor is their any reasonable adverse
inference which would support the use of adverse facts. The Department’s
determination is pure speculation and contrary to all of the evidence of record. The
Courts have agreed with this and found that AFA under similar circumstances was
not appropriate. (See Dalian Meisen Woodworking Co. v. United States, 719 F.
Supp. 3d 1322 (Ct. Int’l Trade 2024)).
      B. The Department Ignored Facts of Record in Calculating the EBC

      In calculating the amount of the subsidy provided by the EBC the Department
must be guided by the principle of accuracy. Congress intended that Commerce
calculate margins as accurately as possible and use the best available information.
See Shakeproof Assembly Components Div. of Ill. Tool Works v. United States, 268
F.3d 1376, 1382 (Fed. Cir. 2001); Rhone Poulenc, Inc. v. United States, 899 F.2d
1185, 1191 (Fed. Cir. 1990); Yangzhou Bestpak Gifts & Crafts Co. v. United States,
716 F.3d 1370, 1379 (Fed. Cir. 2013). In Nan Ya Plastics Corp. v. United States,
810 F.3d 1333, 1344 (Fed. Cir. 2016), the Court explained that a Commerce
determination is “‘accurate’ if it is correct as a mathematical and factual matter…”
(emphasis added). The Courts have noted that “one of the fundamental principles
underlying the trade statute –accuracy. It is this endeavor for accuracy … that lends
respectability to U.S. trade statutes.” Saha Thai Steel Pipe Co., Ltd. v United States,
828 F. Supp. 57, 64 (Ct. Intl Trade 1993).



                                         9
    Case 1:24-cv-00180-JCG          Document 34-1        Filed 03/04/25      Page 14 of 20




        The Department must ensure that the selected rate reasonably reflects the facts
of record. In this case, it is uncontestable that at least a portion of the customers did
not avail themselves of this program and the Department was properly notified of
this fact.    Specifically, the Department ignored the affidavits and statements
provided by plaintiff’s Customers which established that they did not receive such
credit. To the extent that the Department properly applied facts available to this
program, the Department should not have calculated a rate based on a 100% non-
response rate. The amount should have been adjusted by taking into account the
entities that established that they did not receive a credit. That the Department is
required to make such an adjustment is well established by Court precedent. Simply
put, in making this determination, the Department ignored case law which was
directly on point and which was clear and unequivocal. In Risen Energy Co. v.
United States, (Risen I) 46 CIT __, 570 F.Supp. 3d 1369 (2022) and Risen Energy
Co. v. United States (Risen III), 47 CIT __, 665 F.Supp. 3d 1335 (2023) the Court
held:
        At this stage, every piece of evidence presented to Commerce and to the court
        supports the conclusion that Risen's sales were not aided by the EBCP. In the face
        of substantial evidence of non-use from Risen and its customers, and no evidence
        of use supported by actual evidence or any reasonable AFA inference, Commerce
        must not include a subsidy amount for EBCP.
        Risen III at 1344


        The Risen case involved an Administrative Review, not an investigation, but
is still applicable.    The Courts have also expanded this doctrine to investigations.
In Dalian Meisen Woodworking Co., Ltd. v. United States, 719 F.Supp.3d 1322 (Ct.
Int’l Trade 2024) the Court held that “ on remand, for each customer whose non-use
of the Program was verified Commerce must determine a customer-specific rate that
excludes a subsidy amount for the Program, and recalculate Ancientree's total rate,
and the all others rate.” Dalian Meisen at 1338.



                                             10
    Case 1:24-cv-00180-JCG           Document 34-1          Filed 03/04/25       Page 15 of 20




       The primary difference is that in an investigation, the information must be
verified. However, in the case at bar, all of the information was verified by the
Department, and all of the programs for which the Department elected to examine
were verified. (C.R. 347). As noted in Dalian Meissen:
       Nothing in the statutory directive that Commerce "shall verify all information relied
       upon in making... a final determination in an investigation" suggests that unless all
       information is verified, none of the information that is actually verified can be relied
       upon to make a final determination. But here instead of relying on the non-use
       information on the record that the Department was able to verify, Commerce relied
       on adverse facts available as applied to all of Ancientree's U.S. sales.
       Dalian Meisen at 1336


       In this matter, the Department conducted a verification. It was granted access
to every entity and everything that the Department wished to examine and verify
was reviewed. Information is only considered unverified if it was requested to be
examined, but could not be examined, or the examination revealed flaws. See
Guizhou Tyre Co. v. United States, 43 CIT ___, ___, 415 F. Supp. 3d 1402, 1405
(2019) That is not the case here. The specific information was not requested to be
examined, but could have been examined if the DOC had elected to examine this
element at verification.
       Based on the clear precedent cited above, which grew out of reviews and
applies to investigations, it is clear that the Department’s application of AFA and its
calculation of the EBC is contrary to law. The Department should follow precedent,
particularly where as here the precedent is on all fours with the facts in this case, and
must, at a bare minimum, adjust the rate downward to reflect the established non-
use.


       C. The Department Did not Provide an Opportunity to Remedy Any
          Deficiency.




                                              11
    Case 1:24-cv-00180-JCG           Document 34-1          Filed 03/04/25       Page 16 of 20




       The countervailing duty process does not require perfection, only that the
respondent make maximum efforts. The Court has stated:
       Compliance with the "best of its ability" standard is determined by assessing
       whether respondent has put forth its maximum effort to provide Commerce with
       full and complete answers to all inquiries in an investigation. While the standard
       does not require perfection and recognizes that mistakes sometimes occur, it does
       not condone inattentiveness, carelessness, or inadequate record keeping. It assumes
       that importers are familiar with the rules and regulations that apply to the import
       activities undertaken and requires that importers, to avoid a risk of an adverse
       inference determination in responding to Commerce's inquiries: (a) take reasonable
       steps to keep and maintain full and complete records documenting the information
       that a reasonable importer should anticipate being called upon to produce; (b) have
       familiarity with all of the records it maintains in its possession, custody, or control;
       and (c) conduct prompt, careful, and comprehensive investigations of all relevant
       records that refer or relate to the imports in question to the full extent of the
       importers' ability to do so.
       Nippon Steel Corp. v. United States, 337 F.3d 1373, 1382 (Ct. App. Fed. Cir.
       2003)(Emphasis Added)


       As part of the understanding that while perfection is not required, accuracy is
preferred, the statute provides for a mandatory process for the agency to seek
clarification on potential errors. This statute contemplates that the Department will
ask questions if the responses raise questions, rather than rejecting them out of hand.
The controlling statute clearly provides that in order to take adverse inferences, the
Department must identify a deficiency, provide a party an opportunity to correct this
deficiency, and the party must then not correct the deficiency. 19 U.S.C. 1677m is
quite clear.
It states:
             (d)Deficient submissions
             If the administering authority or the Commission determines
             that a response to a request for information under this subtitle
             does not comply with the request, the administering authority
             or the Commission (as the case may be) shall promptly inform
             the person submitting the response of the nature of the
             deficiency and shall, to the extent practicable, provide that
             person with an opportunity to remedy or explain the deficiency
             in light of the time limits established for the completion of


                                              12
    Case 1:24-cv-00180-JCG        Document 34-1     Filed 03/04/25   Page 17 of 20




              investigations or reviews under this subtitle. If that person
              submits further information in response to such deficiency and
              either—
       19 U.S.C. 1677m(d)


The Department did not follow the mandate of the statute. The statute essentially has
five tests.
   1. Was the information provided in a request for information? If the answer is
       yes, then the next test should be considered. If the answer is no, there is
       nothing to clarify.
   2. Did the respondent submit a substantially complete response which the
       Department determined still raised questions? If the answer is yes, then the
       next test should be considered. If the answer is no, the Department is not
       required to seek clarification.
   3. Does sufficient time remain to seek a clarification? If the answer is yes, the
       Department must seek clarification. If the answer is no, the Department is
       not required to seek clarification.
   4. Did the Department request clarification or an explanation or further detail?
       If the answer is yes, then the next test should be considered. If the answer is
       no, the Department has violated the mandate of the statute.
   5. Did the respondent adequately respond to the request from the Department?
       In this case, Junbang submitted information in response to an express request.
Such response was essentially complete and answered the questions asked. The
Department had time to ask for clarification, and in fact, issued supplemental
questionnaires after the submission of the response. Such questionnaires did not
focus on the EBC issue, but the Department could have done so. The Department
did not issue any further questions on the EBC issue. As the Department did not
ask, Junbang could not further respond to the Department as the Department had not



                                         13
   Case 1:24-cv-00180-JCG      Document 34-1      Filed 03/04/25    Page 18 of 20




made its concerns known.        In sum, Junbang provided information about its
customer’s usage of export buyer’s credit in its original Section III response
and supplemented this in its first supplemental questionnaire response
(notwithstanding the absence of a question form the Department). The Department
did identify any flaws in the reported data nor did it ask any further questions about
the EBC program.       Quite to the contrary, the only additional information on this
program was provided without a direct prompting from the Department. The Courts
have long held that in applying this statutory provision, the Department must provide
an opportunity to remedy or explain any deficiency.      In NSK Ltd. et al. v. United
States 481 F.3d 1355(Fed. Cir. 2007) the Court stated:

          NTN makes the related argument that before using facts
          otherwise available to calculate its freight expenses, Commerce
          was required to comply with 19 U.S.C. § 1677m(d), which
          provides that if Commerce determines that a response to a
          request for information is insufficient, it must notify the
          submitter and provide an opportunity to remedy or explain the
          deficiency. Commerce, however, satisfied its obligations under
          section 1677m(d) when it issued a supplemental questionnaire
          specifically pointing out and requesting clarification of NTN's
          deficient responses.
          NSK at FN 1.
In Mukand, Ltd. v. United States, 7676 F.3d 1300 (Fed. Cir. 2014) the Court stated:
          Commerce determined that Mukand's responses were deficient
          and resorted to facts otherwise available. Pursuant to statute,
          Commerce may resort to facts otherwise available to complete
          the record when an interested party fails, for whatever reason,
          to provide requested information. Before resorting to facts
          otherwise available, Commerce must notify the respondent of
          the nature of the deficiency and, to the extent practicable,
          provide an opportunity for the respondent to remedy or explain
          the deficiency. 19 U.S.C. § 1677m(d). If the respondent's
          explanation is unsatisfactory or untimely, Commerce may
          "disregard all or part of the original and subsequent responses."
          Id. Commerce may not, however, refuse to consider necessary
          information that satisfies the five criteria outlined in section
          1677m(e).



                                       14
        Case 1:24-cv-00180-JCG    Document 34-1      Filed 03/04/25    Page 19 of 20




 Mukand at 1304.

 In this case, the Department issued multiple supplemental questionnaires to
 Junbang but did not ask any additional questions about the EBC Program. (P.R.
 226, P.R. 263 , and P.R. 308 ). In stark contrast, the Department did issue a
 supplemental questionnaire to the other mandatory respondent seeking further
 information on the EBC Program. (P.R. 227 at 6-8) The issues about EBC were
 well known to the Department, as illustrated by the questions asked of the other
 mandatory respondent. Critically, the data was presented by Junbang in the initial
 questionnaire     response.     The   Department     issued   multiple    supplemental
 questionnaires to Junbang, but did not identify the deficiency and request Junbang
 to explain the purported discrepancies.         In the absence of such questions, the
 Department cannot take adverse inferences and use adverse facts in calculating the
 value for the program.

VIII.     CONCLUSION
 Plaintiffs respectfully request that this Court:
 Remand this matter to the Department of Commerce to recalculate the
 countervailing duty subsidy rate by eliminating the EBC subsidy from the
 calculation. Such act would be consistent with Court precedent and the facts of this
 case.
                                                 Respectfully submitted,

                                                 /s/ David J. Craven

                                               David J. Craven
                                               Counsel to Zhaoyuan Junbang Trading
                                               Co., Ltd., Linyi Yuwang Vegetable
                                               Protein Co., Ltd., Shandong Yuwang
                                               Ecological Food Industry Co., Ltd., and


                                          15
  Case 1:24-cv-00180-JCG   Document 34-1    Filed 03/04/25   Page 20 of 20




                                      Fenchem Biotek Ltd, Jian

                                      Craven Trade Law LLC
                                      3744 N Ashland
                                      Chicago, IL 60613
                                      (773) 245-4010
                                      David.craven@tradelaw.com




Date March 4, 2025




                                 16
